                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     Civil Action No. 1:18-cv-322-MR-WCM

IRENE WARREN KENT, Administratrix of )
the Estate of Michele Quantele Smiley,         )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )
                                               )
VAN DUNCAN, in his official capacity as )
Sheriff of Buncombe County; WESTERN )
SURETY COMPANY, as surety for the )
Sheriff;     CHARLES        J.    WILHELM, )         DEFENDANT SOUTHEAST
individually and in his official capacity; )        CORRECTIONAL MEDICAL
EDWARD F. PARKER, individually and in )            GROUP, PLLC’S MOTION FOR
his official capacity; MEGHAN T. RIDDLE, )           EXTENSION OF TIME TO
individually and in her official capacity; )         ANSWER OR OTHERWISE
RYAN P. ZABLOUDIL, individually and in )            RESPOND TO PLAINTIFF’S
his official capacity; MATTHEW C. CORN, )                 COMPLAINT
individually and in his official capacity; )
ETHAN GIBBS, individually and in his )
official capacity; JOHN DOE #1, )
individually and in his official capacity; and )
JOHN DOE #2, individually and in his )
official capacity; TINA COX MILLER, )
LPN; and SOUTHEAST CORRECTIONAL )
MEDICAL GROUP, PLLC,                           )
                                               )
               Defendants.                     )

      NOW COMES Defendant Southeast Correctional Medical Group, PLLC (herein

after “Defendant”), by and through the undersigned counsel, and hereby moves the Court

pursuant to Federal Rule of Civil Procedure 6(b) for an order enlarging the time allowed

for Defendant to respond to Plaintiff’s Complaint. In support of this motion, Defendant

shows the following:




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        1.    The Complaint was filed by plaintiff, Irene Warren Kent (hereinafter

“Plaintiff”), in the Superior Court of Buncombe County, North Carolina, on October 3,

2018.

        2.    Defendant was served on or about October 9, 2018.

        3.    On November 2, 2018, Defendants Van Duncan, Sheriff of Buncombe

County, Western Surety Company, as surety for the Sheriff, Charles J. Wilhelm in his

official and individual capacity, Edward F. Parker in his official and individual capacity,

Meghan T. Riddle in her official and individual capacity, Ryan P. Zabloudil in his official

and individual capacity, Matthew C. Corn in his official and individual capacity, Ethan

Gibbs in his official and individual capacity, and Southeast Correctional Medical Group,

PLLC, timely and properly removed this case to this Court. (DE 1)

        4.    Defendant’s responsive pleading is currently due on November 9, 2018.

        5.    Undersigned counsel, however, requests additional time to review the file

materials, conduct an investigation, and confer with his client in order to draft an

appropriate responsive pleading.

        6.    Defendant has consulted with Plaintiff, through counsel, and Plaintiff’s

counsel consents to Defendant’s request for a 30-day extension of time to respond to the

complaint.

        7.    This motion is filed in good faith for the reasons stated and not for purposes

of delay.




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      WHEREFORE Defendant Southeast Correctional Medical Group, PLLC

respectfully requests that its motion for a 30-day enlargement of time to serve an answer

or otherwise plead be allowed up to and including the 9th day of December, 2018.

      THIS the 8th day of November, 2018

                                  CRANFILL SUMNER & HARTZOG, LLP

                                  BY:             /s/Patrick H. Flanagan
                                           Patrick H. Flanagan, State Bar #17407
                                           Attorney for Defendant Southeast Correctional
                                           Medical Group, PLLC
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                            CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day electronically filed the foregoing

Defendant Southeast Correctional Medical Group, PLLC’s Motion for Extension of

Time to Answer or Otherwise Respond to Plaintiff’s Complaint with the Clerk of Court

using the CM/ECF system, which will send electronic notification of such filing to the

following:

      George B. Hyler, Jr
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      Stephen P. Agan
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      Thomas Joseph Doughton
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             THIS the 8th day of November, 2018

                                   CRANFILL SUMNER & HARTZOG, LLP

                                   BY:           /s/Patrick H. Flanagan
                                          Patrick H. Flanagan, State Bar #17407
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